     Case 2:19-cv-08677-MWF-FFM Document 47 Filed 06/30/20 Page 1 of 2 Page ID #:233



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 8                             UNITED STATES DISTRICT COURT
 9                            CENTRAL DISTRICT OF CALIFORNIA
10     RAHEEM KARRIEM,                       )   CASE NO. CV 19-8677-MWF (FFM)
                                             )
11                       Petitioner,         )   ORDER ACCEPTING REPORT AND
                                             )   ADOPTING FINDINGS, CONCLUSIONS,
12                 v.                        )   AND RECOMMENDATIONS OF UNITED
                                             )   STATES MAGISTRATE JUDGE, AND
13     CENTRAL DISTRICT,                     )   DENYING CERTIFICATE OF
                                             )   APPEALABILITY
14                       Respondent.         )
                                             )
15
16          Pursuant to 28 U.S.C. Section 636, the Court has reviewed the
17     Petition, records on file, and the Report and Recommendation of the
18     United States Magistrate Judge.       Further, the Court has engaged in a
19     de novo review of those portions of the Report to which Petitioner has
20     objected.   The Court accepts the Report and adopts the findings,
21     conclusions, and recommendations of the Magistrate Judge.
22          Further, for the reasons stated in the Report and
23     Recommendation, the Court finds that Petitioner has not made a
24     substantial showing of the denial of a constitutional right or that
25     the court erred in its procedural ruling and, therefore, a certificate
26     of appealability is denied.      See 28 U.S.C. § 2253(c)(2); Fed. R. App.
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     Case 2:19-cv-08677-MWF-FFM Document 47 Filed 06/30/20 Page 2 of 2 Page ID #:234



 1     P. 22(b); Miller-El v. Cockrell, 537 U.S. 322, 336 (2003); Slack v.
 2     McDaniel, 529 U.S. 473, 484 (2000).
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 4     DATED: June 30, 2020
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 7                                       MICHAEL W. FITZGERALD
                                         UNITED STATES DISTRICT JUDGE
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